
Freedman, J.
The record discloses no error in the admission of evidence. It also shows that the conclusions of law are fully warranted by the findings of fact. The real question, therefore,
*758is whether the findings of fact are supported by sufficient evidence. The learned chief judge who tried the issues found, in substance, that the gift of the policy in suit was absolute, and not conditional ; that it was fully executed ; that there was a delivery of the assignment and that the plaintiff accepted the assignment. There is sufficient evidence in support of these findings. Indeed, in view of the correspondence proved to have passed between Mr. Ingham and the plaintiff, the trial judge could not very well have found otherwise. Possession of the policy is not necessary to the validity of an assignment, and the question of the delivery of the assignment, and its acceptance, is frequently one of intention, depending on the circumstances of the transaction. In this case there can be but little doubt as to the intention of the parties. Moreover, there is no certificate that the case contains all the evidence. This of itself is fatal to the contention of the appellant. Porter v. Smith, 107 N. Y., 531; 12 N. Y. State Rep., 479, and Aldridge v. Aldridge, recently decided by the court of appeals, second division, 31 N. Y. State Rep., 948.
Upon the case as presented, there was no error in refusing the requests made by the defendant
The judgment should be affirmed, with costs.
Truax, J., concurs.
